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                  UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE: PHILIPS RECALLED CPAP BI-LEVEL        Master Docket: No. 21-mc-1230
PAP, AND MECHANICAL VENTILATOR
PRODUCTS LITIGATION                          MDL No. 3014


KONINKLIJKE PHILIPS N.V., PHILIPS
NORTH AMERICA LLC, PHILIPS HOLDING
USA, INC., PHILIPS RS NORTH AMERICA
LLC, and PHILIPS RS NORTH AMERICA
HOLDING CORPORATION

                Defendants / Third-Party
                Plaintiffs,

       v.

SOCLEAN, INC., and DW MANAGEMENT
SERVICES, LLC

                Third-Party Defendants.




               THE PHILIPS PARTIES’ RESPONSE TO SOCLEAN’S
                POST-REPLY SUPPLEMENTAL MEMORANDUM
                     AND THE COURT’S MINUTE ORDER
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               The Philips parties provide this brief submission (i) to respond to the flawed

arguments raised in SoClean’s unauthorized post-reply supplemental memorandum filed without

leave of Court (“Sur-Reply”), and (ii) to address the District of Oregon decision identified by the

Court in its February 20 Order (ECF No. 3153).

                                   PROCEDURAL HISTORY

               This MDL has been ongoing for more than three years, and although the Court

likely recalls the key relevant procedural events, a few reminders are in order, given the absence

of any discussion of the procedural posture of this litigation in the papers filed by SoClean and its

new counsel.

               On October 8, 2021, the JPML established this MDL and issued its first order

transferring personal injury claims by device users against the Philips parties to this Court. (ECF

No. 1.) The JPML issued numerous additional transfer orders over the ensuing months and years.

Following the transfers, this Court adopted several measures to optimize the efficient resolution of

the various claims asserted in the MDL, including the device users’ personal injury claims. For

instance, in Pre-Trial Order #28, the Court approved the use of a “Master Personal Injury

Complaint [that] will supersede and replace all claims for personal injury” against the Philips

parties. (ECF No. 783 at 2.) This Master Complaint, which alleged personal injury claims under

the laws of all 50 states, provided an efficient platform for the Court and Special Master Vanaskie

to analyze pre-trial issues generally involving all of the personal injury claims, including at the

pleading stage. As contemplated by Pre-Trial Order #28, bellwethers would then be selected

pursuant to an agreed-upon process, and the parties would engage in case-specific discovery

concerning those bellwethers, after which the bellwether trial-ready cases would be remanded (if

applicable) to their home courts for trial. (See ECF No. 783 at 7, 9-10.)
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               On January 25, 2024, the Philips parties informed the Court, confirming what they

had previously told SoClean and DW, that the Philips parties sought to assert claims for

contribution against them. (Jan. 25, 2024 CMC Tr. at 11-12.) These contribution claims stem

from the personal injury claims asserted against the Philips parties by device users through the

Master Complaint. Consistent with the Court’s prior procedures, the Philips parties explained that

the proper and most efficient means for pursuit of these claims was through a corresponding Master

Third-Party Complaint for contribution. (Id.)

               In response, SoClean and DW mounted an array of procedural challenges to the

proposed Master Third-Party Complaint. (ECF No. 2675.) Among other arguments, SoClean and

DW claimed that pursuit of the contribution claims was premature. (ECF No. 2728.) Ultimately,

after extensive briefing on each claimed procedural hurdle, both Special Master Katz and the Court

rejected these arguments and adopted Pre-Trial Order #31, which allowed the Philips parties to

proceed with a Master Third-Party Complaint for contribution. (ECF Nos. 2708, 2745.) The

Philips parties’ operative Master Third-Party Complaint seeks contribution from SoClean and DW

for their share of the personal injuries allegedly suffered by the device user plaintiffs whose

personal injury claims the JPML transferred to this MDL and whose claims were asserted in this

MDL through the Master Complaint. (ECF No. 2922, ¶¶ 5-6, 15, 99-222.)

               While SoClean and DW were pursuing their months-long procedural challenges,

the Philips parties were busy working on a Personal Injury Settlement with device users. The

parties reached the settlement on May 9, 2024. Pursuant to its terms, the Philips parties agreed to

pay $1.075 billion into a fund for the benefit of device users. (ECF No. 2768-1, at 11, 17.) While

some device users asserting claims against the Philips parties are not eligible for this settlement,

the $1.075 billion settlement is the principal payment for which the Philips parties seek



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contribution from SoClean and DW. The settlement is now final, and the Philips parties’

remaining payment under the settlement is due in just three weeks (March 14).

                                           ARGUMENT

I.     The District of Oregon Decision Did Not Concern Contribution Claims or Third-
       Party Practice and Does Not Support Dismissal of the Philips Parties’ Master Third-
       Party Contribution Complaint.

               With respect to the District of Oregon decision from 2008 identified by the Court,

the facts of that case are dissimilar to those here. In the instant action, the Master Third-Party

Complaint is quintessential third-party litigation practice: bringing a third-party defendant to

account for its share of the personal injuries allegedly suffered by the device user plaintiffs whose

personal injury claims the JPML transferred to this MDL. As reflected by the MDLs cited below,

MDL defendants such as the Philips parties may assert third-party contribution claims directly in

an MDL against third-party defendants such as SoClean and DW where those contribution claims

arise from the same underlying claims brought by the original plaintiffs (here, the device users)

that the JPML transferred to the MDL.

               The Oregon decision, by contrast, did not concern contribution claims at all, let

alone third-party practice. There, plaintiffs sought to assert brand new state law class actions

against defendants despite the fact that those state law class actions had not been transferred to the

MDL. In re Farmers Ins. Exch. Claims Reps’ Overtime Pay Litig., 2008 WL 4763029, at *3-4 (D.

Or. Oct. 28, 2008). The addition by plaintiffs of original claims (class action claims to boot) into

MDL proceedings is nothing like, as here, contribution claims that are derived from the very

personal injury claims transferred by the JPML to the MDL and asserted in a Master Complaint.

In fact, the Oregon court expressly stated that “[s]upplemental jurisdiction presupposes the

existence of a case, already properly before the court, to which the ‘other claims’ may be attached.”

Id. at *4 (quoting Dorsey v. Manufacturers Life Ins. Co., 1997 WL 703354, at *3 (E.D. La. 1997)).

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That is precisely the situation here, where the Philips parties’ contribution claims are inextricably

attached to the underlying personal injury claims asserted by the device users through the Master

Complaint.

               Based on the Philips parties’ research, no court has ever cited the Oregon decision

to support the theory that an MDL defendant may not bring a third-party defendant into an MDL.

Additionally, the Philips parties have not identified a single case precluding contribution claims

from being asserted against third parties in an MDL on the basis that the contribution claims were

not transferred by the JPML to the MDL. In fact, numerous MDL courts have not questioned their

subject-matter jurisdiction over third-party complaints (including for contribution) first filed in an

MDL that relate to claims the JPML previously transferred to the MDL. For instance, in In re

Customs & Tax Administration of Kingdom of Denmark Tax Refund Litigation, No. 18-md-2865

(S.D.N.Y.), defendant Acer Investment Group, LLC (“Acer”) was sued by Denmark’s Customs

and Tax Administration (“SKAT”) for aiding and abetting certain pension plans’ alleged

submission of inaccurate tax-withholding information regarding transactions in Danish securities.

(See Dkt. 527 at 10.) Acer, in turn, filed a third-party complaint seeking indemnification and

apportionment of fault from ED&F, a financial brokerage firm, “because ED&F (1) managed,

controlled, and executed the [p]lans’ Danish securities transactions, which [we]re the basis of

SKAT’s claims; and (2) provided all of the information concerning the [p]lans’ securities,

dividends, and withholding-tax information on which the [p]lans and Acer relied, including . . .

inaccurate tax vouchers” provided by ED&F. (See Dkt. 527 at 3.) Even though plaintiff SKAT

had not previously asserted claims against ED&F (see Dkt. 1) and the JPML had not issued an




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order transferring Acer’s indemnification and apportionment third-party claims to the MDL, the

court did not question its subject-matter jurisdiction over the third-party complaint.1

               Likewise, in In re WellNx Marketing & Sales Practices Litigation, No. 07-md-1861

(D. Mass.), defendant Garden State Nutritionals, Inc. (“GSN”) was sued by consumers alleging

that supplements manufactured by GSN did not contain certain ingredients advertised on the

supplements’ labels. (See Dkt. 98 at 3.) GSN thereafter filed a third-party complaint seeking

contribution from the two labs that had supplied GSN with those ingredients. (See Dkt. 98 at 4.)

The JPML had not previously transferred any claims against those labs to the MDL or issued a

transfer order specific to GSN’s third-party contribution claims. (See Dkt. 1.) But, again, the

MDL court did not question its subject-matter jurisdiction over the third-party contribution claims

tethered to the underlying products liability claims the JPML court transferred to the MDL.

               In sum, unlike the issue in the Oregon case—which did not concern contribution

claims or third-party practice, but, instead, brand new state law class actions by plaintiffs against

defendants—the JPML need not expressly transfer derivative contribution claims made by a

defendant/third-party plaintiff against a third-party defendant that arise from the same common




1
        The court ultimately dismissed Acer’s complaint on personal jurisdiction grounds, but that
concern is not implicated here. In re Customs & Tax Admin. of Kingdom of Denmark (SKAT) Tax
Refund Litig., 2021 WL 4993536, at *4-8 (S.D.N.Y. Oct. 26, 2021). At the conclusion of pre-trial
proceedings in this MDL, the bellwether cases will be remanded to their home courts for trial.
SoClean’s personal jurisdiction challenge here is based on the mistaken premise that every case
will be tried in the Western District of Pennsylvania. (See, e.g., Sur-Reply at 5 n.1.) That is not
correct. For instance, the contribution claims relating to a device user from Arkansas who filed
suit originally in the Eastern District of Arkansas should be remanded for trial to the Eastern
District of Arkansas. If SoClean seriously intends to contest personal jurisdiction in that
circumstance—despite the Arkansas plaintiff’s injuries in Arkansas flowing from her purchase of
a SoClean device in Arkansas—SoClean is free to make that challenge after bellwethers are
selected and case-specific discovery has occurred.

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nucleus of facts as the claims brought by the plaintiffs against the defendant/third-party plaintiff

that the JPML did transfer to the MDL.

II.    The Finalized Settlement Moots SoClean’s Ripeness Objections.

               SoClean’s continued ripeness objections are moot. The Personal Injury Settlement

is now final, and the remaining portion of the Philips parties’ $1.075 billion payment obligation is

due on March 14, 2025. This certainty should put to rest SoClean’s oft-repeated argument that the

contribution claims are not yet ripe. To the extent any uncertainty remains, the Philips parties

commit to filing a notice with the Court on March 14 reporting that the settlement amount has been

paid, as it will be.2 Accordingly, there is no good reason to support SoClean’s attempt to further

delay pursuit of these claims.

               SoClean claims that its ripeness objections are “underscored by the Philips

Plaintiffs’ continued inability to identify the universe of settlement registrants or Device User

Plaintiffs on whose claims the Philips Plaintiffs base their contribution claims against SoClean.”

(Sur-Reply at 2-3.) None of this is correct. On January 22, 2025—before the registration deadline

for the settlement—the Philips parties provided SoClean’s counsel two lists of device users whose

claims are the subject of the Philips parties’ contribution claims. The Philips parties sent SoClean’s

counsel updated lists yesterday, after the settlement registration deadline. Copies of those updated

lists are attached for the Court’s review.




2
        SoClean also points to a motion to stay implementation of the settlement, filed by a pro se
plaintiff. (Sur-Reply at 7.) It is hard to imagine how this motion would ever be granted given the
private nature of the settlement. In any event, SoClean’s argument is entirely speculative and
hypothetical.

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               The first list identifies the 2,961 individuals who meet each of the following

criteria: (1) they registered for the settlement (2) based on a respiratory injury3 and (3) disclosed

the use of either a SoClean device specifically (1,563 individuals) or an ozone-based PAP cleaner

generally (1,398 individuals).4 The list provides each registrant’s name, state of residency, and

whether they disclosed use of SoClean specifically or an ozone cleaner generally. The second list

identifies the six individuals who (1) did not register for the settlement, (2) have filed suit against

the Philips parties, and (3) disclosed use of a SoClean device specifically. The list provides each

registrant’s name, state of residency, and originating/transferor court.

               SoClean claims the Philips parties have not disclosed, for each of these individuals,

whether payment is required by the Philips parties for their contribution claims. That too is

incorrect. For each of the settlement registrants, payment is required—and will be made by the

Philips parties on March 14—because the basis for those contribution claims is the settlement and

the associated payment by the Philips parties. For the six others, case law confirms that payment

is not required under the contribution law of the relevant states (Arkansas, Missouri, Montana,

New Jersey, and Ohio).5


3
       For device users who participate in the settlement, the Philips parties seek contribution
only for “that portion of the Settlement Fund paid to Device Users who used a SoClean Device
with their Recalled Device and who are paid for a Qualifying Respiratory Injury.” (ECF 2922 ¶ 5
(emphasis in original).)
4
       By its own admission, SoClean is the “dominant market leader” in ozone-based PAP
cleaners (see MDL 3021, ECF 211 ¶ 12), and discovery will likely reveal that the vast majority of
the 1,398 individuals used a SoClean device specifically. The Philips parties, SoClean, and DW
have agreed to the use of a limited fact sheet designed to get at this information, as well as any
other reasonable information the parties need to gather from device users prior to selecting
bellwethers.
5
        See, e.g., J-McDaniel Constr. Co. v. Dale E. Peters Plumbing, 436 S.W.3d 458, 464 (Ark.
2014) (“[A] defendant seeking contribution in a tort action is not required to wait until he or she
has paid the judgment to implead in the primary action other persons who are or may be liable to
the defendant for all or part of the plaintiff’s claim against the defendant.”); Safeway Stores v. City
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               Two final points. First, SoClean claims that a party can only seek contribution

when it has paid “more than its proportional share of the common liability.” (Sur-Reply at 7.) To

date, SoClean and DW have paid literally nothing toward device users’ personal injuries, and they

are not parties to the Personal Injury Settlement. Second, SoClean claims that it “has asked for but

not yet received any Plaintiff Fact Sheets or Settlement Registrant information for any individual

on either list.” (Id. at 6.) What SoClean fails to tell the Court is that the Philips parties agreed to

send those materials to SoClean as soon as SoClean confirms it is subject to the protective order

in this MDL.

                                          CONCLUSION

               The Court should deny SoClean’s motions to dismiss and to strike.




of Raytown, 633 S.W.2d 727, 730 (Mo. 1982) (“This does not mean . . . that a joint judgment of
liability against two defendants is a necessary prerequisite to an action for contribution.”); Stowe
v. Big Sky Vacation Rentals, 454 P.3d 655, 666 (Mont. 2019) (“Except for previously settled or
released joint tortfeasors, non-party joint tortfeasors may be procedurally brought into a negligence
action in one of two ways—either as named defendants joined by a plaintiff, or as third-party
defendants joined by a named defendant for contribution.”); Ernest Bock & Sons v. Dean Enters.,
2023 WL 4268250, at *4 (D.N.J. June 29, 2023) (“Applied together, the CNA and JTCL ‘comprise
the statutory framework for the allocation of fault when multiple parties are alleged to have
contributed to the plaintiff's harm.’ ‘The test’s core proposition may be stated succinctly: It is
common liability at the time of the accrual of plaintiff’s cause of action which is the Sine qua non
of defendant’s contribution right.’” (citations omitted)); CSX Transp. v. Columbus Downtown Dev.
Corp., 307 F. Supp. 3d 719, 735 (S.D. Ohio 2018) (“Rule 14(a) nevertheless permits a defendant
to implead a joint tortfeasor for contribution before the right to contribution accrues, because that
third party ‘may be’ liable to the defendant for a share of the plaintiff’s primary judgment.”).

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Dated: February 21, 2025        Respectfully submitted,

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                                CERTIFICATE OF SERVICE

               I certify that on February 21, 2025, the foregoing document was filed electronically

with the Clerk of Court, using the CM/ECF system. Notice of this filing will be sent to all parties

who have appeared of record by operation of the Court’s ECF system.


                                                      /s/ William B. Monahan
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